       Case 1:18-cv-05622-PKC         Document 25       Filed 08/29/18      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


HUMANE CONSUMER LLC,                                   Civil Action No. 18-cv-5622 (PKC)

      Plaintiff,                                       NOTICE OF APPEARANCE OF
                                                       STEVEN M. RICHMAN ON BEHALF
v.                                                     OF DEFENDANTS COB
                                                       ECOMMERCE EMPIRE LLC AND
COB ECOMMERCE EMPIRE LLC d/b/a KEEVA                   CHARLES CRAWFORD
ORGANICS, et al.,

                Defendants.


        PLEASE TAKE NOTICE THAT Steven M. Richman, of the firm of Clark Hill PLC,

hereby enters his appearance as counsel of record on behalf of defendants COB ECOMMERCE

EMPIRE LLC AND CHARLES CRAWFORD. All Rule 12(b) defenses are reserved.

        Respectfully submitted this 29 day of August 2018


                                            CLARK HILL PLC

                                            /s/_Steven M. Richman___________________
                                            Steven M. Richman, Esq.
                                            Clark Hill PLC
                                            830 Third Avenue
                                            Suite 200
                                            New York , NY 10022
                                            646.395.8580
                                            646.395.8700 (Fax)

                                            210 Carnegie Center
                                            Suite 102
                                            Princeton, NJ 08540
                                            Phone: (609) 786-2911
                                            Fax: (609) 785-2971
                                            Email: srichman@clarkhill.com

                                            Counsel for Defendants COB Ecommerce Empire
                                            LLC and Charles Crawford




DMSLIBRARY01\29834444.v1
      Case 1:18-cv-05622-PKC            Document 25      Filed 08/29/18      Page 2 of 2




                                CERTIFICATE OF SERVICE

       This is to certify that I have this day caused to be served a true and correct copy of the

foregoing via ECF to all counsel of record.

       This 29th day of August, 2018.


                                                    /s/ Steven M. Richman
                                                    Steven M. Richman
